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                        EXHIBIT A
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                              BEFORE THE UNITED STATES
                     JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

    IN RE: FTX COLLAPSE LITIGATION                 MDL Docket ________


          PETITIONERS’, EDWIN GARRISON’S, GREGG PODALSKY’S, SKYLER
        LINDEEN’S, ALEXANDER CHERNYAVKSY’S, SUNIL KAVURI’S, GARY
       GALLANT’S, AND DAVID NICOL’S MOTION FOR TRANSFER OF RELATED
              ACTIONS TO THE SOUTHERN DISTRICT OF FLORIDA

           Petitioners, Edwin Garrison, Gregg Podalsky, Skyler Lindeen, Alexander Chernyavksy,

   Sunil Kavuri, Gary Gallant, and David Nicol (the “Petitioners”) hereby move for entry of an order

   transferring the Related Actions (described below) to the United States District Court for the

   Southern District of Florida for coordinated and consolidated pretrial proceedings pursuant to 28

   U.S.C. § 1407 and Rule 6.2 of the Rules of Procedure for the Judicial Panel on Multidistrict

   Litigation. This Motion is supported by the accompanying Brief and Schedule of Actions. In

   support of the motion, Petitioners state:

           1.      To date, Undersigned Counsel have two pending, and already consolidated class

   action cases related to the collapse of the FTX cryptocurrency trading platform pending before the

   Honorable K. Michael Moore in the Southern District of Florida, including Garrison, et al. v.

   Bankman-Fried, et al., No. 1:22-cv-23753-KMM (S.D. Fla.) and Podalsky, et al. v. Bankman-

   Fried, et al., No. 1:22-cv-23983-KMM (S.D. Fla.). Undersigned Counsel organized and

   consolidated various different complaints and plaintiffs that were all filed in various state and

   federal courts in the state of Florida.

           2.      Garrison was filed on November 15, 2022, and is the first-filed FTX-related class

   action filed in the country, which represents the only putative nationwide class of FTX customers

   against these 6 FTX Insiders and 12 Brand Ambassadors, and the consolidated proceedings also

   include representation of a putative global class of FTX customers. Both Complaints are supported
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   by extensive Expert Testimony, attesting that all FTX interest accounts were the sale of

   unregistered securities.

          3.      Undersigned Counsel also filed individual FTX actions in state court in the

   Eleventh Judicial Circuit in and for Miami-Dade County (“Florida State Actions”), which were

   also all consolidated on December 5, 2022 in the Complex Business Division before the Honorable

   Michael Hanzman. The individual Plaintiffs in the Florida State Actions already served discovery,

   have pending a Motion for Partial Summary Judgment (namely that the individual accounts

   constitute the sale of unregistered securities) and Judge Hanzman already set an upcoming Case

   Management Conference.

          4.      Just this week, Defendants in the Florida State Actions removed those individual

   cases to the Southern District of Florida, seek to transfer those cases to Judge Moore and Plaintiffs’

   Motion to Remand is now pending before Chief Judge Cecilia M. Altonaga in Norris, et al. v.

   Thomas Brady, et al., No. 1:23-cv-20439-CMA (S.D. Fla.). Both Judge Moore and Chief Judge

   Altonaga have taken active roles in presiding over these consolidated proceedings. 1

          5.      Several other FTX putative class actions, against different Defendants, were

   recently filed in the Northern District of California and the Southern District of California, and

   these include the following cases:

                a. Papadakis, et al. v. Bankman-Fried, et al., No. 3:23-cv-00024 (N.D. Cal.)

                b. Jessup v. Bankman-Fried, et al., No. 3:22-cv-07666 (N.D. Cal.)


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    Related litigation against failed cryptocurrency platform Voyager Digital, and various third-party
   defendants, has been actively litigated in the Southern District of Florida before Chief Judge
   Cecilia Altonaga and The Honorable Roy Altman, in Cassidy v. Voyager Digital Ltd., et al., Case
   No. 21-24441-CIV-ALTONAGA/Torres and Robertson, et al. v. Mark Cuban, et al., No. 22-cv-
   22538-ALTMAN/Reid. A trial date has already been sent in the Robertson Action. The paramount
   question in the Voyager litigation is extremely similar to the paramount question in the FTX cases,
   namely whether the interest bearing accounts and/or each platform’s native cryptocurrency tokens
   are securities that should have been registered with securities regulators.

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                 c. Pierce v. Bankman-Fried, et al., No. 3:22-cv-07444 (N.D. Cal.)

                 d. Lam v. Bankman-Fried, et al., No. 3:22-cv-07336 (N.D. Cal.)

                 e. Gonzalez v. Silvergate Bank, et al., No. 3:22-cv-01981 (S.D. Cal.)

                 f. Sepulveda, et al. v. Silvergate Capital Corp., et al., No. 3:22-cv-01901 (S.D. Cal.)
                    (voluntarily dismissed February 9, 2023)

                 g. Husary, et al. Silvergate Capital Corp., et al., No. 3:23-cv-00038 (S.D. Cal.)
                    (voluntarily dismissed February 9, 2023)

          6.      Some other federal FTX claims have been filed, and more subsequently filed “tag-

   along” actions are anticipated to be filed, in these and possibly other district courts across the

   country (collectively, the “Related Actions”).

          7.      As required by 28 U.S.C. § 1407(a), the Related Actions proposed for transfer and

   coordination “involve[] one or more common questions of fact,” including:

               (a) whether the FTX Entities operated a Ponzi scheme from their domestic

                  headquarters in Miami;

               (b) whether all of the Yield-Bearing Accounts (“YBAs”), native FTT cryptocurrency

                  token, or other assets offered or sold by Defendants were unregistered securities;

               (c) whether Defendants’ participation and/or actions in FTX’s offerings and sales of

                  YBAs violate the provisions of the Securities Act and analogous Florida state

                  securities law;

               (d) the type and measure of damages suffered by Plaintiffs and the Classes;

               (a) whether Defendants’ practices violate the Florida Deceptive and Unfair Trade

                  Practices Act (“FDUTPA”) and/or analogous and applicable state consumer

                  protection statutes;

               (b) whether Plaintiffs and Class members have sustained monetary loss and the proper

                  measure of that loss;


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                (c) whether Plaintiffs and Class members are entitled to consequential damages,

                   punitive damages, Florida statutory damages, disgorgement, and/or other legal or

                   equitable appropriate remedies as a result of Defendants’ conduct.

          8.       Almost all of the new cases have been filed over the course of the last four months,

   and many have yet to be filed, but are anticipated to be filed in the coming weeks and months.

   Thus, there is sufficient numerosity to support transfer of the Related Actions for coordinated

   pretrial proceedings.

          9.       Transfer of the actions will prevent duplication of discovery, eliminate the

   possibility of conflicting pretrial rulings, and conserve party and judicial resources.

          10.      The United States District Court for the Southern District of Florida is the most

   appropriate forum for consolidation of the actions because, inter alia, (1) the FTX entities was

   based in the Southern District of Florida; (2) the Southern District of Florida has extensive

   experience with cases of this type; and (3) that is the District where Garrison, the first-filed,

   consolidated class action has been actively presided over by Judge Moore, as well as Norris, the

   consolidated Florida State Actions, which are now being actively presided over by Chief Judge

   Altonaga. Similarly, Judge Altman has substantial experience presiding over similar complex

   matters, as he is currently presiding over the Robertson litigation and is not currently presiding

   over an MDL. Each of these Judges are highly capable judges who have significant experience in

   the subject matter of the litigation and all of the legal issues involved.

          Accordingly, the Petitioners respectfully requests that the Panel transfer the Related

   Actions to the Southern District of Florida for consolidation and coordinated pre-trial proceedings.




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   Dated: February 10, 2023                  Respectfully submitted,

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